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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0177V
                                          UNPUBLISHED


    SAMANTHA FROST,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: August 7, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.

Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

        On January 31, 2019, Samantha Frost filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza vaccine received on
September 1, 2017. Petition at 1; Stipulation, filed at August 6, 2020, ¶¶ 2-4. Petitioner
further alleges that the vaccine was administered in the United States, she experienced
the residual effects of the injury for more than six months, and there has been no prior
award or settlement of a civil action for damages as a result of her alleged condition.
Petition at 1, 4; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner suffered a right
shoulder injury, and denies that any vaccine caused petitioner’s alleged right shoulder
injury any other injury or her current condition.” Stipulation at ¶ 6.



1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Nevertheless, on August 6, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            1. A lump sum of $49,000.00 in the form of a check payable to Petitioner.
               Stipulation at ¶ 8; and

            2. A lump sum payment of $1,113.06, representing compensation for
               satisfaction of the State of Maryland Medicaid lien, payable jointly to
               petitioner and

                        Maryland Department of Health
                        201 W. Preston Street
                        Baltimore, MD 21201-2399

        Petitioner agrees to endorse this payment to the State of Maryland. This lump sum
represents full satisfaction of any right of subrogation, assignment, claim, lien, or cause
of action the State of Maryland had made to or on behalf of Samantha Frost from the date
of her eligibility for benefits through the date of judgment in this as a result of her alleged
vaccine-related injury suffered on or about September 1, 2017, under Title XIX of the
Social Security Act.

      The above lump sum amounts represent compensation for all damages that would
be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
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